Case 2:03-CV-02423-SH|\/|-tmp Document 139 Filed 08/04/05 Page 1 of .3 Page|D 157

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IN THE UNITED STATES DISTRICT C-C')¥JRT M_D.G

FoR THE wEsTERN DISTRICT oF TENN
WESTERN DIvISION B§SA%§ "l* P” ‘*‘ol

 

LAURA A. 'I‘AVERNIER, M.D. , "
W OFTN.P\ENPHS
Plaintiff,
V. NO. 03-2423-MaP

THE UNIVERSITY OF TENNESSEE
COLLEGE OF MEDICINE, ET AL.,

Defendants.

 

ORDER GRANTING PERMISSION TO FILE REPLY
TO MEMORANDUM IN OPPOSITION TO HERROD'S
MOTION FOR SUMMARY JUDGMENT

 

Before the Court is defendant Henry G. Herrod's August 2,
2005, motion for leave to file a reply, in his individual
capacity, to plaintiff’s opposition to his motion for summary
judgment filed on June 2, 2005. For good cause shown, the motion
is granted and defendant may file his reply.

lt is 30 0RDERED this °"'Laay Of August, 2005.

SAMUEL H. MAYS, JR.
UNITED STATES DISTRICT JUDGE

 

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Honorable Samuel Mays
US DISTRICT COURT

